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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                            )
                                                     )
                      v.                             )       No. 21-cr-00083
                                                     )            (TNM)
                                                     )
BRANDON FELLOWS,                                     )
             Defendant.                              )
                                                     )

                                 NOTICE OF APPEARANCE
       The above captioned case has been assigned to Cara Halverson, Assistant Federal

Public Defender. Please send all notices and inquiries to the address listed below.



                                                 Respectfully submitted,

                                                 A.J. KRAMER
                                                 FEDERAL PUBLIC DEFENDER

                                                                 /s/
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